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                   IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE
    ____________________________________________ x
                                                 :                              Chapter 11
    In re                                        :
                                                 :                              Case No. 19-11179 (__)
    WHITE STAR PETROLEUM HOLDINGS, LLC,          :
    et al.,1                                     :                              Joint Administration Pending
                                                 :
                                 Debtors.        :
    ____________________________________________ x

                                  AGENDA FOR FIRST DAY HEARING
                                  AND INDEX OF FIRST DAY PAPERS2

PETITIONS

1.          Voluntary Petitions

            a.     White Star Petroleum Holdings, LLC (19-11179)
            b.     White Star Petroleum Operating, LLC (19-11180)
            c.     WSP Finance Corporation (19-11181)
            d.     White Star Petroleum, LLC (19-11182)
            e.     White Star Petroleum II, LLC (19-11183)

DECLARATIONS IN SUPPORT OF FIRST DAY PLEADINGS

2.          Declaration of Jeffrey J. Zanotti in Support of Debtors’ Chapter 11 Petitions and First
            Day Pleadings [D.I. 2, Filed 5/28/19]


3.          Declaration of Edgar W. Mosley II, Managing Director At Alvarez & Marsal North
            America, LLC in Support of Debtors’ Chapter 11 Petitions and First Day Pleadings [D.I.
            3, Filed 5/28/19]

1
      The Debtors in these chapter 11 cases, and the last four digits of their U.S. taxpayer identification numbers are:
      White Star Petroleum Holdings, LLC (0575) (“WSTR Holdings”), White Star Petroleum, LLC (0977)
      (“WSTR”), White Star Petroleum II, LLC (4347) (“WSTR II”), White Star Petroleum Operating, LLC (5387)
      (“WSTR Operating”) and WSP Finance Corporation (9152) (“WSP Finance” and together with WSTR
      Holdings, WSTR, WSTR II and WSTR Operating, the “Debtors”). The Debtors’ corporate headquarters is
      located at 301 N.W. 63rd Street, Suite 600, Oklahoma City, OK 73116.
2
      Upon receiving the date and time of the first day hearing (the “First Day Hearing”) from the assigned Judge’s
      chambers, the above-captioned debtors and debtors in possession will file and serve a notice of the First Day
      Hearing in accordance with Rule 9013-1(m)(iii) of the Local Rules of Bankruptcy Practice and Procedure of the
      United States Bankruptcy Court for the District of Delaware. All motions and other pleadings referenced herein
      are available online at the following address: http://www.kccllc.net/whitestar.



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MATTERS GOING FORWARD

4.       Debtors’ Motion for an Order Authorizing Joint Administration of the Debtors’ Chapter
         11 Cases [D.I. 4, Filed 5/28/19]

         Status: This matter will be going forward.

5.       Debtors’ Motion for an Order Authorizing the Debtors to (I) File (A) a Consolidated List
         of Creditors in Lieu of Submitting a Separate Matrix for Each Debtor and (B) a
         Consolidated List of the Debtors’ Top 30 Creditors and (II) File Under Seal Certain
         Personal Identification Information for Individual Creditors [D.I. 5, Filed 5/28/19]

         Status: This matter will be going forward.

6.       Debtors’ Application for Authorization to Employ and Retain Kurtzman Carson
         Consultants LLC as Claims and Noticing Agent Effective Nunc Pro Tunc to the Petition
         Date [D.I. 6, Filed 5/28/19]

         Status: This matter will be going forward.

7.       Debtors’ Motion for Interim and Final Orders (I) Approving Form of Adequate
         Assurance of Payment to Utility Companies, (II) Establishing Procedures for Resolving
         Objections by Utility Companies, (III) Prohibiting Utility Companies From Altering,
         Refusing or Discontinuing Service and (IV) Granting Related Relief [D.I. 7, Filed
         5/28/19]

         Status: This matter will be going forward.

8.       Debtors’ Motion for Interim and Final Orders (I) Authorizing, But Not Directing, the
         Debtors to Continue (A) Their Insurance Program and Pay Prepetition Obligations
         Relating Thereto and (B) Their Surety Bond Program and Pay Prepetition Obligations
         Relating Thereto, (II) Modifying the Automatic Stay to Permit Debtors’ Employees to
         Proceed with Workers’ Compensation Claims and (III) Authorizing Financial Institutions
         to Honor Related Payment Requests [D.I. 8, Filed 5/28/19]

         Status: This matter will be going forward.

9.       Debtors’ Motion for Interim and Final Orders (I) Authorizing, But Not Directing, Debtors
         to Pay Certain Prepetition Taxes and Assessments, (II) Authorizing Financial Institutions
         to Honor Related Payment Requests and (III) Granting Related Relief [D.I. 9, Filed
         5/28/19]

         Status: This matter will be going forward.



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10.      Debtors’ Motion for Interim and Final Orders (I) Authorizing, But Not Directing, Debtors
         to Pay or Honor Royalty Payments, (II) Authorizing Financial Institutions to Honor
         Related Payment Requests and (III) Granting Related Relief [D.I. 10, Filed 5/28/19]

         Status: This matter will be going forward.

11.      Debtors’ Motion for Interim and Final Orders (I) Authorizing, But Not Directing, Debtors
         to Pay Certain Prepetition Claims of Vendors and (II) Authorizing Financial Institutions
         to Honor Related Payment Requests [D.I. 11, Filed 5/28/19]

         Status: This matter will be going forward.

12.      Debtors’ Motion for Interim and Final Orders Authorizing, But Not Directing, the
         Debtors to (I) Pay Certain Prepetition Compensation and Reimbursable Expenses, (II)
         Pay and Honor Benefits and Other Programs and (III) Continue Workforce Obligations
         [D.I. 12, Filed 5/28/19]

         Status: This matter will be going forward.

13.      Debtors’ Motion an Order (I) Authorizing, But Not Directing, Debtors to (A) Continue
         Their Existing Cash Management System, (B) Honor Certain Related Obligations and (C)
         Maintain Existing Bank Accounts and Utilize Existing Check Stock and (II) Granting
         Related Relief [D.I. 13, Filed 5/28/19]

         Status: This matter will be going forward.

14.      Motion of Debtors for Entry of Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105,
         361, 362, 363, 364, 503, 506, and 507, (I) Authorizing the Debtors to Obtain Senior
         Secured Superpriority Postpetition Financing, (II) Granting Liens and Superpriority
         Administrative Expense Claims, (III) Authorizing the Use of Cash Collateral, (IV)
         Granting Adequate Protection, (V) Modifying the Automatic Stay, (VI) Scheduling a
         Final Hearing, and (VII) Granting Related Relief [TO BE FILED]

         Status: This matter will be going forward.




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Dated: May 28, 2019                  MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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